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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

BAYER INTELLECTUAL PROPERTY                     )
GMBH, BAYER ANIMAL HEALTH                       )
GMBH, and BAYER HEALTHCARE LLC,                 )
                                                )
                       Plaintiffs,              )
                                                )
           v.                                   ) C.A. No. 17-591 (RGA)
                                                )
CAP IM SUPPLY, INC.,                            )
                                                )
                       Defendant.               )
                                                )

                 STIPULATION AND [PROPOSED] ORDER STAYING CASE


           IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that all deadlines are stayed through and including August 10, 2018 to provide the

parties time in which to finalize settlement.

MORRIS, NICHOLS, ARSHT & TUNNELL LLP            SHAW KELLER LLP


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July 26, 2018
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           SO ORDERED this ___ day of July, 2018.



                                        UNITED STATES DISTRICT JUDGE




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